             Case 2:18-cv-00449-MCE-AC Document 1 Filed 02/28/18 Page 1 of 6


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8    William Sardin
9                                    UNITED STATES DISTRICT COURT
10
                 EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION
11

12                                                CASE NO.
     William Sardin,
13

14                             Plaintiff,         PLAINTIFF’S COMPLAINT FOR DAMAGES:
15          v.
                                                     1. Violation of the Rosenthal Fair Debt
16                                                      Collection Practices Act
     First National Bank of Omaha, and DOES          2. Violation of the Telephone Consumer
17   1 through 100 inclusive,                           Protection Act
18                             Defendants.
19
            COMES NOW Plaintiff William Sardin, an individual, based on information and belief,
20
     to allege as follows:
21
                                             INTRODUCTION
22
        1. This is an action for damages brought by an individual consumer for Defendant’s
23
     violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §1788, et seq.
24
     (hereinafter “Rosenthal Act”), which prohibits debt collectors from engaging in abusive,
25
     deceptive, and unfair practices and violation of the Telephone Consumer Protection Act 47
26
     U.S.C. §227, et seq. (hereinafter “TCPA”), which prohibits the use of automated dialing
27
     equipment when making calls to consumers.
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                                                     1
              Case 2:18-cv-00449-MCE-AC Document 1 Filed 02/28/18 Page 2 of 6



1        2. Plaintiff brings this action against Defendant FNB Omaha (hereinafter “FNB”) for its
2    abusive and outrageous conduct in connection with debt collection activity.
3        3. In Calif. Civil Code § 1788.1(a)-(b), the California Legislature made the following
4    findings and purpose in creating the Rosenthal Act:
            (a)(1) The banking and credit system and grantors of credit to consumers are dependent
5
            upon the collection of just and owing debts. Unfair or deceptive collection practices
6           undermine the public confidence which is essential to the continued functioning of the
            banking and credit system and sound extensions of credit to consumers.
7
              (2) There is need to ensure that debt collectors and debtors exercise their
8
              responsibilities to another with fairness and honesty and due regard or the rights of the
9             other.

10            (b) It is the purpose of this title to prohibit debt collectors from engaging in unfair or
11
              deceptive acts of practices in the collection of consumer debts and to require debtors to
              act fairly in entering into and honoring such debts, as specified in this title.
12
         4. While may violations are described below with specificity, this Complaint alleges
13
     violations of the statutes cited in their entirety.
14
         5. The TCPA was designed to prevent calls like the ones described herein, and to protect
15
     the privacy of citizens like Plaintiff, and by enacting the TCPA, Congress intended to give
16
     consumers a choice as to how corporate entities may contact them and to prevent the nuisance
17   associated with automated or prerecorded calls.
18
                                        JURISDICTION & VENUE
19
         6. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 47 U.S.C. §
20
     227.
21
         7. This venue is proper pursuant to 28 U.S.C. §1391(b).
22
                                      GENERAL ALLEGATIONS
23       8.   Plaintiff William Sardin (hereinafter “Plaintiff”) is an individual residing in the state
24   of California, and is a “debtor” as defined by Cal. Civ. Code §1788.2(g).

25       9.   At all relevant times herein, Defendant FNB engaged, by the use of mail, email, and
     telephone, in the business of collecting a debt from Plaintiff, and a “consumer debt,” as defined
26
     by Cal. Civ. Code §1788.2(f).
27

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             Case 2:18-cv-00449-MCE-AC Document 1 Filed 02/28/18 Page 3 of 6


         10. At all relevant times, Defendant acted as a “debt collector” within the meaning of Cal.
1
     Civ. Code §1788.2(c)
2
         11. Plaintiff had taken out an unsecured loan with FNB in approximately 2013.
3
         12. The loan Plaintiff took from Defendant FNB was extended primarily for personal,
4
     family or household purposes and is therefore a “debt” as that terms is defined by the Calif.
5
     Civil Code § 1788.2(d) of the Rosenthal Act.
6        13. Defendant FNB has been attempting to collect on a debt that originated from monetary
7    credit that was extended primarily for personal, family, or household purposes, and was
8    therefore a “consumer credit transaction” within the meaning of Calif. Civil Code § 1788.2(3)
9    of the Rosenthal Act.

10
         14. Because Plaintiff, a natural person allegedly obligated to pay money to Defendant
     FNB arising from what Plaintiff is informed and believes was a consumer credit transaction,
11
     the money allegedly owed was a “consumer debt” within the meaning of California Civil Code
12
     § 1788.2(f) of the Rosenthal Act.
13
         15. Plaintiff is informed and believes that Defendant is one who regularly collects or
14
     attempts to collect debts on behalf of themselves, and is therefore a “debt collector” within the
15
     meaning of the Calif. Civil Code § 1788.2(c) of the Rosenthal Act, and thereby engages in
16   “debt collection” within the meaning of the California Civil Code § 1788.2(b) of the Rosenthal
17   Act, and is also therefore a “person” within the meaning of California Civil Code § 1788.2(g)
18   of the Rosenthal Act.
19       16. Plaintiff’s account was an unsecured loan and Plaintiff began making payments on the

20
     accounts.
         17. Plaintiff began making payments on the loan before he became financially unable to
21
     keep up with the monthly payments.
22
         18. Defendant FNB began contacting Plaintiff in October of 2017 to inquire about the
23
     status of the loan and to collect on the payments that were no longer being made.
24
         19. Plaintiff retained counsel to assist in dealing with FNB debt and to seek some type of
25
     financial relief.
26       20. Counsel for Plaintiff sent Defendant FNB a letter confirming representation of
27   Plaintiff and that Defendant was to no longer contact Plaintiff directly and that all
28   calls/letters/collection efforts were to no longer be directed at Plaintiff.

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             Case 2:18-cv-00449-MCE-AC Document 1 Filed 02/28/18 Page 4 of 6


        21. Counsel for Plaintiff sent the letter of representation to FNB on or about January 29
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     2018, FNB received Plaintiff’s revocation letter and letter of representation on February 1,
2
     2018.
3
        22. Plaintiff informed FNB that he was revoking her consent, if it was ever previously
4
     given, to be called on his cellular telephone in January of 2018.
5
        23. Plaintiff denies he ever gave her express consent to be contacted on his cellular
6    telephone by automatic dialing machines or pre-recorded voice messages.
7       24. Defendant FNB continued to contact Plaintiff between approximately February 8,
8    2018 – at least February 14, 2018; the type of contact was through phone calls to Plaintiff on
9    her cellular telephone.

10
        25. Despite notice being sent Defendant continued to contact Plaintiff on his cellular
     telephone regarding collection of his outstanding debt.
11
        26. Plaintiff was contacted frequently regarding non-payment of the debt owed to FNB
12
     despite FNB being notified that Plaintiff had retained counsel to deal specifically with the debt
13
     owed to FNB.
14
        27. FNB’s calls were frequent in nature and continued despite receiving written
15
     confirmation that Plaintiff was represented by an attorney.
16                                    FIRST CAUSE OF ACTION
                                      (Violation of the Rosenthal Act)
17
                                     (Cal. Civ. Code §§ 1788-1788.32)
18                                  (Against Defendant and Does 1-100)

19      28. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
20   above as though fully set forth herein.

21      29. Plaintiff provided written notice that he was represented by sending Defendant a letter
     with the name, address, and contact information of his attorney and informed Defendant that he
22
     was represented.
23
        30. Defendant continued to call and attempt to make contact with Plaintiff despite receiving
24
     notice of representation and being informed that Plaintiff had retained counsel in an effort to deal
25
     with the debt that was owed to Defendant.
26
        31. The calls and communications made by Defendant to Plaintiff were not related to
27   statements of Plaintiff’s account and were attempts to collect a debt.
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             Case 2:18-cv-00449-MCE-AC Document 1 Filed 02/28/18 Page 5 of 6


         32. Plaintiff received frequent calls from FNB from at least February 4, 2018 – February 14,
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     2018.
2
         33. Defendant violated Cal. Civ. Code §1788.14 by contacting Plaintiff after receiving
3
     noticed that Plaintiff had retained an attorney.
4
         34. Defendant received notice regarding Plaintiff’s retention of counsel but continued to
5
     contact Plaintiff.
6                                    SECOND CAUSE OF ACTION
                                          (Violation of the TCPA)
7
                                               (47 USC § 227)
8                                    (Against Defendant and Does 1-100)

9        35. Plaintiff realleges and incorporates herein the allegation in each and every paragraph

10   above as though fully set forth herein.

11       36. Since at least October of 2017 Defendant started calling Plaintiff’s cellular telephone
     requesting that payment be made on the accounts Plaintiff held with Defendant.
12
         37. Plaintiff informed Defendant that he was revoking consent to be contacted by FNB in
13
     January of 2018.
14
         38. FNB continued to call Plaintiff frequently since Plaintiff withdrew his consent to be
15
     contacted by an automatic dialing machine.
16
         39. Defendant would contact Plaintiff frequently regarding payment on the accounts.
17       40. Defendant placed the above cited calls using an artificial or prerecorded voice to deliver
18   the collection messages without Plaintiff’s prior express consent.
19       41. Defendant contacted Plaintiff on at least 8 (eight) separate occasions after Plaintiff

20   informed Defendant he did not wish to be contacted on his cellular telephone and withdrew any

21   prior consent that may have been given.
         42. All calls placed by Defendant to Plaintiff utilized an “automatic telephone dialing
22
     system” as defined by 47 U.S.C. §227(a)(1).
23
         43. These calls were made to Plaintiff’s cellular telephone and were not calls for an
24
     emergency purposed as defined by 47 U.S.C. §227(b)(1)(B).
25
         44. These telephone calls by Defendant, or its agent, violated 47 U.S.C. §227(b)(1)(B).
26

27                                       PRAYER FOR RELIEF

28
     WHEREFORE, Plaintiff prays for judgment as follows:

                                                        5
             Case 2:18-cv-00449-MCE-AC Document 1 Filed 02/28/18 Page 6 of 6


                a. An award of actual damages pursuant to California Civil Code §1788.30(a), as
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                    will be proven at trial, which are cumulative and in addition to all other
2
                    remedies provided for in any other cause of action pursuant to California Civil
3
                    Code §1788.32.
4
                b. An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
5
                    §1788.30(b), which are cumulative and in addition to all other remedies
6                   provided for in California Civil Code §1788.32; and
7               c. An award of costs of litigation and reasonable attorney’s fees pursuant to Cal.
8                   Civ. Code §1788.30(c).
9               d. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C.

10
                    §227(b)(3)(C) for each and every violation.
                e. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting such conduct
11
                    in the future.
12
                f. Pursuant to 15 U.S.C. 1692(k) both actual damages and statutory damages in an
13
                    amount to be proven at trial.
14
                                                          SAGARIA LAW, P.C.
15   Dated: February 28, 2018                       By:   /s/ Elliot Gale
                                                          Scott Sagaria, Esq.
16                                                        Elliot Gale, Esq.
17
                                                          Attorneys for Plaintiff

18                                   DEMAND FOR JURY TRIAL
19          Plaintiff hereby demands trial of this matter by jury.
20                                                         SAGARIA LAW, P.C.
     Dated: February 28, 2018                              /s/ Elliot Gale
21                                                         Scott Sagaria, Esq.
                                                           Elliot Gale, Esq.
22
                                                           Attorneys for Plaintiff
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                                                      6
